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Attorneys for Plaintiff X Corp.

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(admitted pro hac vice)
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(admitted pro hac vice)

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION

xX CORP.,
Plaintiff,
Vv.
ROBERT A. BONTA, Attorney
General of California, in his

official capacity,

Defendant.

AFFIDAVIT OF JOEL KURTZBERG IN
FURTHER SUPPORT OF PRELIMINARY
INJUNCTION

No. 2:23-cv-01939-WBS~AC

AFFIDAVIT OF JOEL KURTZBERG

IN FURTHER SUPPORT OF X CORP.'S
MOTION FOR PRELIMINARY
INJUNCTION
Case 2:23-cv-01939-WBS-AC Document 34-1 Filed 11/28/23 Page 2 of 3

Joel Kurtzberg, being duly sworn, deposes and states as’ follows:

1. I am a partner of the law firm Cahill Gordon & Reindel
LLP, attorneys for X Corp. in the above-captioned action. I ama
licensed member of the Bar of the State of New York and admitted
pro hac vice to appear before this Court in the above-captioned
action.

Lie Io am submitting this affidavit in connection with
Plaintiff’s Supplemental Brief in Support of Motion for Preliminary
Injunction to put before the Court a copy of documents .referenced
in X Corp.’s supplemental brief.

Se Annexed as Exhibit 1 is a true and correct copy of
Defendant Letitia James’ Memorandum of Law in Opposition to
Plaintiffs’ Motion for Preliminary Injunction in Volokh v. James,
No. 22-cv-10195 (S.D.N.Y. Dec. 13, 2022).

4, Annexed as Exhibit 2 is a true and correct copy of
Plaintiffs’ Memorandum of Law in Support of Motion for Preliminary
Injunction in Volokh v. James, No. 22-cv-10195 (S.D.N.Y. Dec. 6,

2022).

AFFIDAVIT OF JOEL KURTZBERG IN 2
FURTHER SUPPORT OF PRELIMINARY
INJUNCTION
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Dated: New York, NY
November 28, 2023

Sworn to before me this

28th day of November, 2023

QO

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Notary Public

DAVID A. BAILEY
NOTARY PUBLIC, STATE OF NEW YORK
Registration No. 01BA0001802
Qualified in New York County
My Commission Expires 2/21/27

AFFIDAVIT OF JOEL KURTZBERG IN
FURTHER SUPPORT OF PRELIMINARY
INJUNCTION

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